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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   20 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :
and CHRISTIAN A. LARSEN,                                                :
                                                                        :
                                             Defendants.                :
                                                                        :
------------------------------------------------------------------------x

      NOTICE OF PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S
           MOTION TO STRIKE DEFENDANT RIPPLE LABS, INC.’S
                    FOURTH AFFIRMATIVE DEFENSE

        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Plaintiff Securities and Exchange Commission’s Motion to Strike Defendant Ripple Labs, Inc.’s

Fourth Affirmative Defense, the Declaration of Daphna A. Waxman and the exhibits attached

thereto, and the allegations of the Complaint, the undersigned will move this Court, before the

Honorable Judge Analisa Torres, United States District Judge, at a date and time to be determined

by the Court, for an order, pursuant to Fed. R. Civ. P. 12(f), striking the fourth affirmative defense

asserted by Defendants Ripple Labs, Inc., “lack of Due Process and fair notice,” in the above-

captioned action.
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Dated: New York, New York
       April 22, 2021
                                         Respectfully Submitted,


                                         ____________________________
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                                         Dugan Bliss
                                         Daphna A. Waxman
                                         Jon A. Daniels
                                         Ladan F. Stewart

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